 

Case 4:14-cr-00151-Y Document 489 Filed 03/02/20 Page1of1 PagelD 8605

Type hearing:
Case number:
Defendant:

Court Reporter:
Interpreter:

US Attorney:
Defense Attorney:
Time in Court:
Judge:

Date of hearing:

Status:

Days in Court:

Hearing concluded:

Deputy Clerk:

Other Information:

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

MINUTE ORDER

 

Arraignment - NON-EVIDENTIARY NORTHERN et ictor TEXAS
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ICT

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4:14-CR-00151-Y : —— FU FD
RAMON VILLARREAL HERNANDEZ 05), Sv
BD ‘a te | :
Yovana Gonzalez] CLERK US DISTRICT COuRT

Aisha Saleem-AUSA By Depa

Pere Lancaster, FPO

vOFMVAR - 2 2020

 

 

 

 

 

 

Magistrate Judge Jeffrey L. Cureton
March 2, 2020

RAMON VILLARREAL HERNANDEZ (05) enters a plea of not guilty as to counts
one and two charged in the two-count fourth superseding indictment.

Pre-Trial Conference is set for May 14, 2020, at 3:00 p.m.

Trial is set for May 18, 2020, at 1:30 p.m.

Defendant waived reading of the indictment.

Deft’s detention continued.

one
Yes

Julie Harwell

 
